|

Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 1 of 40

EXHIBITS G—L TO MOTION OF WELLS FARGO BANK, N.A., AS
TRUSTEE, TO ENJOIN DISTRIBUTIONS TO WOODLAND
HARTFORD ASSOCIATES, LLC, TO APPROVE TRANSFER TO
CLAIMS AND FOR OTHER RELIEF
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 2 of 40

EXHIBIT “G”
i

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Bi0 (Official Form 10) (4/05)
UNITED STATES BANKRUPTCY COURT MIDDLE DISTRICT OF FLORIDA,
JACKSONVILLE DIVISION PROOF OF CLAIM

Name of Deblor WINN-DIXIE STORES, INC

Case Number 05-03617-oF 1

Arequest@ of payment of administrative expenses may be filed pursuant to 11 USC §503

NOTE. This form should not be used to make a claim for an administrative expense arising after the commencement of the case A

Name of Creditor (The person or other entity to whom the debtor owes
money or property}

WOODLAND HARTFORD ASSOCIATES, LLC

Name and address where notices should be sent
The Law Offices of Joel Shafferman, LLC

80 Wall Street, Suite 910

New York, NY 10005

Attn Joel M Shafferman, Esq Y Ss 2 / a 7

Telephone Number 212-509-1802

LJCheck box if you are aware that
anyone else has filed a proof of
claim relating to your claim
Attach copy of statement grving
particulars :

C1 Check box if you have never
recewed any notices from the
bankruptcy court in this case

CO check box if the address differs
from the address on the envelope
sent to you by the court .

AMa0scy

EBTOR WINN - DIXIE STORES, INC

S BANKRUPTCY COURT M D-FLORIDA
INTLY ADMINISTERED UNDER

ASE 05-03817 GF1)

HAPTER 11

LAIM NO.: 13560

THIS SPACE 1S FOR COURT USE ONLY

ACCOUNT OR OTHER NUMBER BY WHICH CREDITOR IDENTIFIES DEBTOR
WDX-2689-B2-07 Stare #997

Check here LJ replaces

if this claim # amends a previously filed claim dated May, 18, 2006

1. Basis for Claim

Goods sold

Services performed

Money loaned

Personal injury/wrongful death

[1 Retiree benefits as defined in 11 USC §1114(a)

{] Wages, salaries, and compensation (Fill out below)
C) Your social security number
L] Unpaid compensations for services performed from

Taxes
Other (Describe briefly) Lease Rejection Damages. Based on 15% of
Total Rents Reserved Under Lease ($7,911,966,11) = $1,186,794.92

OOOO

from

to

(date}

(date)

2. Date debt was incurred: Post Petition Rejection Damage Claim

| 3. If court judgment, date obtained:

4. Total Amount of Claim at Time Case Filed: $3,200,229.80

$ $

$1,200,229.89

(unsecured)

of all terest or additional charges

If all or part of your claim 1s secured or entitled to priority, also complete Item 5 or 7 below
G Check this box 1 claim includes mterest or other charges m addition to the principal amount of the clam Attach rtemized statement

(total)

(secured) ~ (priority)

5. Secured Claim.

O) Check this box :f your claim 1s secured by collateral (including a
right of setoff)
Brief Description of Collateral
Real Estate _] Motor Vehicle
C) Other Proceeds of Personal Injury Action

Value of Collateral $

Amount of arrearage and other charges at time case filed included
m secured claim, :fany $__

6. Unsecured Nonpriority Claim $1,200,229.80

C] Check this box if a) there is no collateral or len securing your
claim, or b) your claim exceeds the value of the property securing it, or if
c) none or only part of your claim 1s entitled to priority

7. Unsecured Priority Claim.

Lcheck this box if you have unsecured priority claim
Amount entitled to priority $
Specify the priority of the claim

Wages, salartes, or commissions (up to $10,000)*, earned within 180 days
before filing of
: the bankruptcy petition or cessation of the debtor's business, whichever
earlier -
11USC § 507(a)(3)
Contributions to an employee benefit plan- 11 USC  §507(a)(4)

O Up to $2,225 * of deposits toward purchase, lease or rental of property or

services
for personal, family or household use -- 11 USC §507(a)(6)

Ahmony, mamtenance, or support owed to a spouse, former spouse,
orchild- 11 USC §507(a)(7)
(J Taxes or penalties of governmental units - 11 USC § 507(a)(8)
[1 Other Specify applicable paragraph of 11 USC §507(a)( )
* Amounts ave subject to adjustment on 4/1/07 and every 3 years thereafter with respect
cases Commenced on or after the date of adjustment $10,000 and 180-day limits apply to cases file
on or after 4/20/05 Pub L 109-8

8. Credits: The amount of all payments on this claim has been credited and deducted for THIS SPACE IS FOR GQURT USE ONLY

making this proof of claim. i =

9. Supporting Documents: Attach copies of supporting documents, such as promissory an

notes, purchase orders, invoices, 1lemized statements of running accounts, contracts, court me

judgments, mortgages, security agreements, and evidence of perfection of lien. ~~

DO NOT SEND ORIGINAL DOCUMENTS. If documents are not available, explain. a

¥f documents are voluminous, attach a summary

10. Date Stamped Copy: To receive an acknowledgment of the filing of your claim, enclose =n

a stamped, self-addressed envelope and copy of this proof of claim. - =
=O

Date Sign and print the name and ttle, if any, of the creditor her person authorized to file ; ** ~

September 15, 2006 this clam (attach copy of p; attormey, if an S: = -

Joe’ Shafferman, Esq attorney in fact

Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 4 of 40

i Penaity for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C. §§152 and 3571.

B10 (Official Form 10) (4/98) (Reverse)

“ INSTRUCTIONS FOR PROOF OF CLAIM FORM

The mstructions and defimtions below are general explanations of the law In particular types of cases or circumstances, such as bankruptcy cases that
are not filed voluntarily by a debtor there may be exceptions to these general rules

DEFINITIONS

Debtor

The person, corporation, or other entity that
has filed a bankruptcy case is called the
debtor.

Creditor

A creditor 1s any person, corporation, or
other entity to whom the debtor owed a
debt on the date that the bankruptcy case
was filed

Proof-of Claim

A form telling, the bankruptcy court how
much the debtor owed a creditor at the time
the bankruptcy case was filed (the amount
of the creditor's claim) This form must be
filed with the clerk of the bankruptcy court
where the bankruptcy case was filed.

Secured Claim

A claim js a secured claim to the extent
that the creditor has a lien on the property
of the debtor (collateral) that gives the
creditor the right to be paid from that
property before creditors who do not have
liens on the property.

Examples of liens are a mortgage on real
estate and a security interest in a car, truck.
boat, television set, or other item of
property, A lien may have been obtained
through a court proceeding before a
bankruptcy case began, m some states a
court judgment is a len In addition, to the
extent a creditor also owes money to the
debtor (has a nght of setoff), the creditor's
claum may be a secured claim. (See also

Unsecured Claim

If a claim 1s not a secured claim it is an unsecured
claim A claim may be partly secured and partly
unsecured ifthe property on which a creditor has a lien
1s not worth enough to pay the creditor in fuil.

Unsecured Priority Claim

Certain types of unsecured clams are given priority, so
they are to be paid in bankruptcy cases before most
other unsecured claims (af there is sufficient money or
property available to pay these claims). The most
common types of priority clauns are listed on the proof
of clam form Unsecured claims that are not
specifically given priority status by the bankruptcy
laws are classified as Unsecured Nonpriority Claims

Unsecured Claim.)

ITEMS TO BE COMPLETED IN PROOF OF CLAIM FORM (IF NOT ALREADY FILLED IN)

Debtor:
Fill in the name of the federal judicial district where the
bankruptcy case was filed (for example, Central District of
California), the name of the debtor in the bankruptcy case,
and the bankruptcy case number Ifyou received a notice of
the case from the court, all of this information is near the
top of the notice
Information about Creditor:
Complete the section giving the name. address, and
telephone number of the creditor to whom the debtor owes
money or property, and the debtor's account number, if
any If anyone else has already filed a proof of claim relating
to this debt, if you never received notices from the
bankruptcy court about this case, 1f your address differs
from that to which the court sent notice, or if this proof of
claim replaces or changes a proof of claim that was already
filed, check the appropriate box on the form.
1. Basis for Claim:
Check the type of debt for which the proof of claim 1s being
filed If the type of debt 1s not listed, check -Other” and
briefly describe the type of debt Ifyou were an employee of
the debtor, fill in your social security number and the
dates of work for which you were not paid.
2. Date Debt Incurred:
Fill m the date when the debt first was owed by the debtor
3. Court Judgments:
If you have a court for this debt, state the date the court
entered the Judgment.
4. Total Amount of Claim at Time Case Filed:
Fill in the total amount of the entire claim. If interest or
other charges in addition to the principal amount of the
claim are included check the appropriate place on the form
and attach an iternization of the mierest and charges.

§. Secured Claim:
Check the appropriate place if the claim 1s a secured claim.
You must state the type and value of property that is
collateral for the clan, attach copies of the documentation
of your lien, and state the amount past due on the claim as of
the date the bankruptcy case was filed. A claim may be
partly secured and partly unsecured (See DEFINITIONS,
above)
6. Unsecured Priority Claim:
Check the appropriate place 1f you have an unsecured
priority claim, and state the amount entitled to priority
(See DEFINITIONS, above) A claim may be partly
priority and partly nonprionty, if, for example. the claim is
for more than the amount given priority by the law Check
the appropriate place to specify the type of priority clam.
7. Credits:
By signing this proof of claim, you are stating under oath
that in calculating the amount of your claim you have given
the debtor credit for ail payments received from the debtor.
8. Supporting Documents:
You must attach to this proof of claim form copies of
documents that show the debtor owes the debt claimed or,
1f the documents are too lengthy, a summary of those
documents If documents are not available, you must attach
an explanation of why they are not available.

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EXHIBIT A
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Exhibit “A” To Rejection Damage Proof of Claim

Case: WINN-DIXIE RALEIGH, INC.

Case No. 05-03839.
Location: Store No. 997 (the “Lease”) which is located at Cedar Road and Las Gaviotas.

Boulevard, Chesapeake, Virginia.

Rejection Date: June 29, 2006.

Compare and take the greater of (A) and (B)
A: One year’s Base Rent and

Additional Rent $575,501.72 (See breakdown on page 2)

B: 15% of Remaining Term of $1,186,794.92
Lease (not to exceed

3 years)
Remaining Balance at
Date of Petition $7,911,966.11 (See calculation on page 2)
PLUS: Actual pre petition $13,324.90

Claim (based upon

POC amount as revised by
Response to Objection to

POC (17° Omnibus Objection)

PLUS: Claim for costs incurred in connection with $Unknown Amount
repair damages caused by presence of subtenant
at the Premises, including structural damages and
legal fees

KNOWN TOTAL: $£,200,229.80
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 7 of 40

Case: WINN-DIXTE RALEIGH, INC.

Case No. 05 -03839.

Location. Store No. 997 (the “Lease”) which is located at Cedar Road and Las Gaviotas.
Boulevard, Chesapeake, Virginia.

Rejection Date: June 29, 2006.

Lease Term: November 19, 1998 — November 18, 2018 (from attached supplemental lease
agreement).
Petition Date: February 21, 2005.

Yearly BASE RENT: $472,938.96
Per Diem BASE RENT: - $1,295.72
DAYS FROM PETITION

DATE TO END OF INITIAL

TERM: 5,018.20
REMAINING BASE RENT —— $6,501,938.9]

Yearly ADDITIONAL Rent $102,562.76 (see breakdown below)
Per Diem ADDITIONAL Rent $280.99

REMAINING RENT  —__ $7,911,966.11 (base & additional rent)
Yearly BASE Rent $472,938.96

Annual real property taxes $69,576.20
Annual storm water fees $2,986.56
Insurance $30,000.06
Yearly Additional Rent: $102,562.76

TOTAL YEARLY RENT $575,501.72
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 8 of 40

EXHIBIT B
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 9 of 40

Exhibit “B” To Rejection Damage Proof of Claim

1, Basis for Claim: Woodland Hartford Associates, LLC (“Woodland”)

asserts a claim based on the rejection of the Debtors/Tenants’ interest under a
Supplemental Lease Agreement (the “Lease”), a copy of which is attached hereto. The
Lease was rejected pursuant to that certain order entered on or about August 7, 2006.
The Lease relates the located at Cedar Road and Las Gaviotas Boulevard, Chesapeake,

Virginia.

2 Classification of Claim: Woodland’s claim is a general unsecured ,

claim, except as may be determined under applicable federal or state law and/or as

determined by a court to constitute a secured, administrative or priority claim.

3. Total Amount of Claim: The amount of Woodland’s claim is the
amount indicated in Box 4 of the Proof of Claim to which this exhibit is attached.

4, Supporting Documents: See attached.

Note: Reservation of Rights: This proof of claim is filed with full

reservation if rights and remedies, including the right to assert additional, modified,
supplementary and/or amended proofs of claim and/or documents obtained from the
Debtors or others through discovery or otherwise and with full reservation of (i)
Woodland’s rights and/or claims against any party other than the Debtors; and (ii)
Woodland’s interest in any property, including property of the estate. Without in any

way limiting the foregoing, Woodland reserves the right to assert any claim it may have

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oon y wane See Te ene ne, Seana pra pea Seaman waawean Aer wena ARLEN Ube CLT entre

This proof of claim is filed without prejudice to any cause of action against the Debtors
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 10 of 40

not constituting a “Claim” under 11 U.S.C.§101(5). Woodland also may have and hereby

reserves all rights to assert certain recoupment, set-off and other related rights.
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SUPPLEMENTAL LEASE AGREEMENT

THIS SUPPLEMENTAL LEASE AGREEMENT (the “Agreement? is made this 19! day of November,
1998, between WINN-DIXIE RALEIGH, INC , a Flonda corporation, (hereinafter the “Tenant’) and WOODLAND
HARTFORD ASSOCIATES, L.L.C., a New York limited lability company (hereinafter the “Landiord”}

WHEREAS, Tenant and Landtord entered into a Lease dated November 21, 1997, as amended and/or
evidenced by: (a) Memorandum of Lease dated November 21, 1997, recorded in Book 3605, page 380 atthe
Clerk , Circuit Court, Chesapeake, Virginia (the “Lease’) for the use and occupancy of the Premises descnbed

therein:

NOW, THEREFORE, pursuant to the provisions of the Lease, Tenant and Landtord mutually agree as
follows

1 The Commencement Date of the Term is November 19, 1998

2 The Term shall expire at midnight Eastern Time on Novernber 18, 2018, unless earlier
terminated or later extended as provided for in the Lease

3. All undefined capitalized terrns used herein are as defined in the Lease

IN WITNESS WHEREOF, the parties hereto have signed and sealed this Agreement on the date first
set forth above

Signed, sealed and delivered

in the presence of ;
1} WOODLAND HARTFORD ASSOCIATES, L.LC.,
PontName>...0.000.. 0 eee. a New York limited hability co y ‘es dle te pat
btogd ered (lid Nee eA ° “F oni
2) By.” tLe ete oN aie
PrintName>.. 0.00022 ee eee ee Name> Zne Fig eV TY. _
, its ‘| “Presitient: Ite Aging Menlbes
As to Lancford Landlord
1) . WINN-DIXIE RALEIGH, INC
Print Narne>.. 0.0. 2. eee a Florida corporation
2) By
PnntName> . . “ . Name>.. 2. 2.26. cee cee cree ee
its President
As to Tenant Tenant
997 raleigh sla

toss zarin
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 12 of 40

STATE OF ___ fv CZK)
COUNTY OF _ Feslenty _ )

The foregoing instrument was acknowledged before me this_1¥ TK day of . DELEIN 44998,
byBAAY peu sTES _, asf ytttecememned President of WOODLAND HARTFORD ASSOCIATES, hee thay rs
ts€ a New York imi is f ny, on behaif of the company, who is (_) personaily known to me or !

hast-yproauced "ut PO

ah , J
wee” I Z Ack’ /f/
(BLEED EPLEGL

Printed Name: pay 2C7L
Notary Public, State and County aforesaid.

My Commission Expires: > MA FARRELL

h

fsa ee 95 ori reece wr,
(NOTARIAL SEAL) ane RAAT STAG

COMMASIUN LAP. 2 od?

STATE OF FLORIDA)
COUNTY OF DUVAL )

The foregoing instrument was acknowledged before me this day of , 1998,
by as President of WINN-DIMIE RALEIGH, INC., a Florida corporation,

on behalf of the corporaton, who is ( ) personally known to me or has ( ) produced
__ as identification.

Printed Name.

Notary Public, State and County aforesaid.
My Commission Expires’

Notary ID No .
(NOTARIAL SEAL}

i 997 saleighsla
| 12/8/9811

O
ft
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 13 of 40

CONSENT

FIRST UNION NATIONAL BANK the owner and holder of a morigage upon the Shopping Center,
hereby consents to the terms and conditions of this Supplemental Lease Agreement.

FIRST UNION NATIONAL BANK

By:

Name> 22... 2 6 cee teen ewe eee eee eee teen vere eee

Its President
STATE OF )
COUNTY OF _)
. The foregoing instrument was acknowledged before me this day of , 1998,

by as of FIRST UNION NATIONAL BANK on behalf

of the bank, who is ( } personaily known to me or has (_) produced
as identification.

Printed Name
Notary Public, State and County aforesaid.
My Commission Expires:

Notary ID No:
(NOTARIAL SEAL)

OANEWFORMSALEASEISLA,

997 raleigh sta

ate Fests

Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 14 of 40

EXHIBIT “H”
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07

4

Page 15 of 40

B10 (Official Form 10) (4/05)

UNITED STATES BANKRUPTCY COURT MIDDLE DISTRICT OF FLORIDA,
‘| JACKSONVILLE DIVISION

PROOF OF CLAIM

Name of Debtor WINN-DIXIE RALEIGH, ING Case Number 05-03839-3F1

NOTE. This form should not be used to make a claim for an administrative expense arising after the commencement of the case A
Arequest@ of payment of admumustrative expenses may be filed pursuant to 11 US © §503

Name of Creditor (The person or other entity to whom the debtor owes L_}Check box 1f you are aware that

money or property)

WOODLAND HARTFORD ASSOCIATES, LLC

Name and address where notices should be sent

The Law Offices of Joel Shafferman, LLC
80 Walt Street, Suite 916
i New York, NY 10005 Uf oo a

Attn Joel M Shaffeiman, Esq

Telephone Number 212-509-1802

anyone else has filed a proof of
clam relating to your claim
Attach copy of statement givmg DEBTOR WINN - DIXIE STORES, INC
particulars US BANKRUPTCY COURT M D-FLORIDA

(J Check box if you have never JOINTLY ADMINISTERED UNDER.

received any notices from the CABE 05-03817 GF1)
bankruptcy court m this case «= CHAPTER 11]

O Check box if the address differs CLAIM NO.: 13561

from the address on the envelope

sent to you by the court
THIS SPACE IS FOR COURT USE ONLY

WDX-2689-B2-07 Store #997

ACCOUNT OR OTHER NUMBER BY WHICH CREDITOR IDENTIFIES DEBTOR

Check here () replaces

if this claim a amends a previously filed clarm dated May 18, 2006

J. Basis for Claim

Oo Goods soid (1 Retiree benefits as defined in 11 USC §1114(a)
Oo Services performed [3 Wages, salaries, and compensation (Fill out below)
(3 Money loaned ‘Your soctal security number

Oo Personal mjury/wrongful death oO Unpaid compensations for services performed from
C] Taxes from to

Oo Other (Describe briefly) Lease Rejection Damages. Based on 15% of (date) (date)

Total Rents Reserved Under Lease ($7,911,966.11) = $1,186,794.92

|2. Date debt was incurred: Post Petition Rejection Damage Claim

| 3. If court judgment, date obiained:

4. Total Amount of Claim at Time Case Filed: $1,200,229.80

~~ $£,200,229.80

(unsecured)

of all interest or additional charges

(secured)
If all or part of your claim is secured or entitled to priority, also complete Item 5 or 7 below
0 Check this box if claim includes interest or other charges im addition to the principal amount of the clam Attach 1temized statement

~ (priority) (total)

5. Secured Claim.

(1 Check this box sf your claim 1s secured by collateral Gncluding a
right of setoff)
Brief Description of Collateral
CJ Real Estate 1] Motor Vehicle
CJ Other Proceeds of Personal Injury Action

Value of Collateral $

Amount of arrearage and other charges at time case filed included
in secured claim, ifany 3

6. Unsecured Nonpriority Claim $1,200,229.80

OC] check this box 1f a) there 1s no collateral or lien securing your

c) none or only part of your claim ts entitled to priority

claim, or b) your claim exceeds the value of the property securing it, or 1f

7, Unsecured Priority Claim.
OCheck this box 1f you have unsecured prionty claim
Amount entitled to priority $
Specify the priority of the claim
Wages, salaries, or commissions (up to $10,000)*, earned within 180 days
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a stamped, self-address

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DO NOT SEND ORIGINAL DOCUMENTS. If documents are not available, explain.

10. Date Stamped Copy: To receive an acknowledgment of the filing of your claim, enclose
ed envelope and copy of this proof of claim.

. ~ mo
THIS SPACES FORRSOURT USE ONLY
=. ty oo gm
oo

Date Sign and print the name and title,
September 15, 2006 this claim (attagh p

©)
A Shikierman, ES

Joeld

erson authonzed to file

attorney in fact

Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 16 of 40

| Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§152 and 3571.

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Proof-of Claim

A form telling, the bankruptcy court how
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creditor the right to be paid from that
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Unsecured Claim

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Certain types of unsecured claims are given priority, so
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property available to pay these claims) The most
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specifically given priority status by the bankruptcy
laws are classtfied as Unsecured Nonpriority Claims.

Unsecured Claim )

ITEMS TO BE COMPLETED IN PROOF OF CLAIM FORM (IF NOT ALREADY FILLED IN)

Debtor:
Fill m the name of the federal judicial district where the
bankruptcy case was filed (for example, Central District of
Calrfornia), the name of the debtor in the bankruptcy case,
and the bankruptcy case number If you received a notice of
the case from the court, all of this information is near the
top of the notice,
Information about Creditor:
Complete the section giving the name address, and
telephone number of the creditor to whom the debtor owes
money or property, and the debtor's account number, if
any If anyone else has already filed a proof of claim relating
to this debt, if you never received notices from the
bankruptcy court about this case, if your address differs
from that to which the court sent notice, or 1f this proof of
claim replaces or changes a proof of claim that was already
filed, check the appropriate box on the form.
1. Basis for Claim:
Check the type of debt for which the proof of claun 1s being
filed. If the type of debt 1s not listed, check -Other” and
briefly describe the type of debt If you were an employee of
the debtor, fill in your social security number and the
dates of work for which you were not paid
2. Date Debt Incurred:
Fill in the date when the debt first was owed by the debtor.
3. Court Judgments:
If you have a court for this debt, state the date the court
entered the Judgrnent.
4, Total Amount of Claim at Time Case Filed:
Fill in the total amount of the entire claim If interest or
other charges in addition io the principal amount of the
claim are mcluded check the appropriate place on the form
and attach an rtemization of the interest and charges

5. Secured Claim:
Check the appropriate place if the claim 1s a secured claim
You must state the type and value of property that ts
collateral for the claim, attach copies of the documentation
of your lien, and state the amount past due on the clanm as of
the date the bankruptcy case was filed A claim may be
partly secured and partly unsecured (See DEFENITIONS,
above).
6. Unsecured Priority Claim:
Check the appropriate place 1f you have an unsecured
priority claim, and state the amount entitled to priority.
(See DEFINITIONS, above), A claim may be partly
priority and partly nonpriority, 1f, for example. the claim is
for more than the amount given priority by the law. Check
the appropriate place to specify the type of priority claum
7. Credits:
By signing this proof of claim, you are statimg under oath
that in calculating the amount of your clan you have given
the debtor credit for all payments received from the debtor.
8. Supporting Documents:
You must attach to this proof of claim form copies of
documents that show the debtor owes the debt claimed or,
if the documents are too lengthy, a summary of those
documents If documents are not available, you must attach
an explanation of why they are not available.

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EXHIBIT A
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 18 of 40

Exhibit “A” To Rejection Damage Proof of Claim

Case: WINN-DIXIE RALEIGH, INC.

Case No. 05-03839.

Location: Store No. 997 (the “Lease”) which is located at Cedar Road and Las Gaviotas.
Boulevard, Chesapeake, Virginia.

Rejection Date: June 29, 2006.

Compare and take the greater of (A) and (B)

A: One year’s Base Rent and
Additional Rent $575,501.72 (See breakdown on page 2)

B: 15% of Remaining Term of $1,186,794.92
Lease (not to exceed
3 years)
Remaining Balance at
Date of Petition $7,91 1,966.11 (See calculation on page 2)

PLUS: Actual pre petition _ $13,324.90
Claim (based upon
POC amount as revised by
Response to Objection to
POC (17" Omnibus Objection)

PLUS: Claim for costs incurred in connection with $Unknown Amount
repair damages caused by presence of subtenant
at the Premises, including structural damages and
- legal fees

KNOWN TOTAL: $1,200,229.80
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 19 of 40

Case: WINN-DIXIE RALEIGH, INC.

Case No. 05-03839.

Location: Store No. 997 (the “Lease”) which is located at Cedar Road and Las Gaviotas.
Boulevard, Chesapeake, Virginia.

Rejection Date: June 29, 2006. ,

Lease Term: November 19, 1998 — November 18, 2018 (from attached supplemental lease
agreement).

Petition Date: February 21, 2005.

Yearly BASE RENT: $472,938.96
Per Diem BASE RENT: $1,295.72
DAYS FROM PETITION

DATE TO END OF INITIAL

TERM: 5,018.20
REMAINING BASE RENT $6,501,938.91

Yealy ADDITIONAL Rent $102,562.76 (see breakdown below)
Per Diem ADDITIONAL Rent $280.99

REMAINING RENT $7,911,966.11 (base & additional rent)
Yearly BASE Rent $472,938.96

Annual real property taxes $69,576.20

Annual storm water fees $2,986.56
Insurance $30,000.00

Yearly Additional Rent: $102,562.76

TOTAL YEARLY RENT $575,501.72
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EXHIBIT B
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 21 of 40

Exhibit “B” To Rejection Damage Proof of Claim

1. Basis for Claim: Woodland Hartford Associates, LLC (“Woodland”)

asserts a claim based on the rejection of the Debtors/Tenants’ interest under a
Supplemental Lease Agreement (the “Lease”), a copy of which is attached hereto. The
Lease was rejected pursuant to that certain order entered on or about August 7, 2006.
The Lease relates the located at Cedar Road and Las Gaviotas Boulevard, Chesapeake,

Virginia.

2. Classification of Claim: Woodland’s claim is a general unsecured

claim, except as may be determined under applicable federal or state law and/or as
determined by a court to constitute a secured, administrative or priority claim.

3. Total Amount of Claim: The amount of Woodland’s claim is the

amount indicated in Box 4 of the Proof of Claim to which this exhibit is attached.

4, Supporting Documents: See attached.

Note: Reservation of Rights: This proof of claim is filed with full

reservation if rights and remedies, including the right to assert additional, modified,
supplementary and/or amended proofs of claim and/or documents obtained from the
Debtors or others through discovery or otherwise and with full reservation of (i)
Woodland’s rights and/or claims against any party other than the Debtors; and (i)
Woodland’s interest in any property, including property of the estate. Without in any
way limiting the foregoing, Woodland reserves the right to assert any claim it may have
against the Debtors or against any other property other than Debtors and their estates.

This proof of claim is filed without prejudice to any cause of action against the Debtors
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 22 of 40

not constituting a “Claim” under 11 U.S.C.§101(5). Woodland also may have and hereby

reserves all rights to assert certain recoupment, set-off and other related rights.
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SUPPLEMENTAL LEASE AGREEMENT

THIS SUPPLEMENTAL LEASE AGREEMENT (the “Agreement’) is made this 19" day of November,
4998, between WINN-DIXIE RALEIGH, INC , a Flonda corporaton, (hereafter the "Tenant’} and WOODLAND
HARTFORD ASSOCIATES, LL.C , a New York limited ability company (hereinafter the “Landlord”).

WHEREAS, Tenant and Landlord entered into a Lease dated November 21, 1997, as amended and/or
evidenced by. (a} Memorandum of Lease dated November 21, 1997, recorded in Book 3605, page 380 at the
Clerk , Circurt Court, Chesapeake, Virgina (the “Lease”) for the use and occupancy of the Premises described
therein,

NOW, THEREFORE, pursuant to the prousions of the Lease, Tenant and Landlord mutually agree as
follows

1 The Commencement Date of the Term is November 19, 1998

2. The Term shall expe at midnight Eastern Time on November 18, 2018, unless earlier
ierminated or later extended as provided for in the Lease.

3 Ali undefined capitalized terms used herein are as defined in the Lease

IN’ WITNESS WHEREOF, the parties hereto have signed and sealed this Agreement on the date first
set forth above.

Signed, sealed and delivered
in the presence of

4) WOODLAND HARTFORD ASSOCIATES vit 1 Cc.
PnntName>... 20,0 2. 00. ee a New York Wie Srieed company
btoodired (innif ete OCP
2) By~ tLe MEL
PnntName>. .. .. . . Name> . Te COP 4. hae va
{ts t acim Finn AGING MamBes
As to Landford Landlord
1) WINN-DIXIE RALEIGH, INC
PrintName> . 2... a Florida corporation
2) By
Print Name>. .. : . Name> ... . eee ee
lts President
As to Tenant : Tenant

997 raleigh sla
SBVORiin
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 24 of 40

STATE OF New Yorn
COUNTY OF _ Ferttniy _ )

The foregoing instrument was acknowledged before me this igh * day of PELE pn Bi44998,

byBAG24 prvitES __, as Ablsaernemnac President of WOODLAND HARTFORD ASSOCIATES,
bent ppreaucea a New York lr Haba ny, on behalf of the company, who is (_) personaily known to me or
LE PO acidentfieaton-

~ pl useecfeect/

Printed Name. Ar2agpn) Z7¥ 2G
Notary Public, State and County Qa LOD EL

My Commussion Expires: , ARRELL
Notary ID No. WEA¢ 705 7. NOTARY PUBLIC STATE OF NY
(NOTARIAL. SEAL) _ ONANPIED WESTCHESTEE CNTY
COMMISDION EXP, od

STATE OF FLORIDA)
COUNTY OF DUVAL )

The foregoing instrument was acknowledged before me this day of , 1998,
by ,as President of WINN-DIXIE RALEIGH, INC , a Flonda corporation,

on behalf of the corporaton, who is {( ) personally known to me or has ( ) produced
_ as identification

Printed Name

Notary Public, State and County aforesaid.
My Commission Expires.

Notary ID No.
(NOTARIAL SEAL}

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Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 25 of 40

CONSENT

FIRST UNION NATIONAL BANK the owner and holder of a mortgage upon the Shopping Center,
hereby consents to the terms and conditions of this Supplemental Lease Agreement.

FIRST UNION NATIONAL BANK
By.
Name> wee tee tee woe
Its President
STATE OF }
COUNTY OF y
The foregoing instrument was acknowledged before me this day of , 1998, |

by as of FIRST UNION NATIONAL BANK on behalf

of the bank, who is (_ ) personally known to me or has (_) produced
as identification.

Printed Name

Notary Public, State and County aforesaid.
My Commission Expires:

Notary ID No .
(NOTARIAL SEAL)

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Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 26 of 40

The Law Offices of Joel Shafferman, LLC

80 Wall Street, Suite 910 3701 Henry Hudson Parkway
New York, New York 10005 Suite 1E

Phone. 242-509-1802 Riverdale, New York 10463
Fax 212-509-1831

September 15, 2006

BY FEDERAL EXPRESS
Winn-Dixie Claims Docketing Center
Logan & Company, Inc.
546 Valley Road

Upper Montclair, New Jersey 07043

Re: Winn Dixie Stores, Inc. Chapter 11 Case No. 05-03817-3F1
_ Winn Dixie Raleigh, Inc. Chapter 11 Case No. 05-03839-3F 1
Dear Madam or Sir:
We have enclosed two (2) originals and two (2) copies of proofs of claim filed on
behalf of our client, Woodland Hartford Associates, LLC, in the above-referenced Chapter

. 11 cases.

Please accept the originals for filing and return the copies to me in enclosed self-
addressed stamped envelope.

Should you have any questions, please contact me at the above number.

JMS/jz
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 27 of 40

EXHIBIT “I”
|.

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Serer

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In re 5 Case No. 05-3817-3F 1

WINN-DLXIE STORES, INC., et al., ) Chapter 11

Debtors. ) Jointly Administered
ORDER (1) AUTHORIZING DEBTORS TO REJECT LEASE

FOR STORE 997, (I) ESTABLISHING REJ ECTION DAMAGE

CLAIM BAR DATE, AND GRANTING RELATED RELIEF

These cases came before the Court on the motion of Winn-Dixie Stores, Inc.
and twenty-three of its subsidiaries and affiliates, as debtors and debtors-in-possession
(collectively, the “Debtors”), for entry of an order under 11 U.S.C. § 365 authorizing
the Debtors to reject a non-residential real property lease for Store 997 (the ‘Tease
and, pursuant to Rule 3002(c)(4), Federal Rules of Bankruptcy Procedure.
establishing a deadline by which the landlord must file any claim for rejectior
damages (the “Motion’)'. The landlord under the Lease, Woodland Hartford Assoc *
LLC (the “Landlord”) filed an objection (Doc. No, 8801) to the Motion. The Cour
has reviewed the Motion, ‘considered the evidence and heard argument of counsel
After due deliberation and good and sufficient cause existing, it 18

ORDERED AND ADJUDGED THAT:
1. The Motion is granted.

2. The Objection is overruled,

Af} canitalized terms not otherwise defined in this order shai! have the meaning ascribed to them in the Motion
Case 8:05-Dk-03817-JAF Doc 15080-3_ Filed 02/09/07 Page 29 of 40

x, .

“”

3. As a result of the Subtenant’s failure to pay $405,780.00 in
rent due, as of March 16, 2006, under a sublease agreement (the “Sublease”),
between the Debtors and Cornerstone Christian Church (the “Subtenant”) the
Debtors terminated the Sublease by written notice dated March 16, 2006. Since
the date of the termination of the Sublease, the Subtenant has not made any
payments of any sort to the Debtors or the Landlord.

4, The Debtors are authorized to reject the Lease pursuant to 11
US.C, § 365(a). The Lease is rejected effective June 29, 2006.

5. The Debtors must pay the Landlord rent, as set forth under
the Lease, for the months of May and prorated for June, 2006 within 10 business
days of the entry of this Order.

6. The Debtors must pay, in accordance with the terms of the
Lease, any outstanding and accrued post-petition property taxes upon Debtors”
receipt ‘of a valid invoice for such property taxes. In addition to 2005 taxes, the
Debtors are also required to pay any prorated 2004 real estate taxes that have
accrued through the date of re} ection.

q. The entry of this Order is without prejudice to the right of the

‘Landlord to file a claim for rejection damages under 11 U.S.C. §502{b)(6), The
Landlord must file any rejection damage claim no later than forty-five days after
entry of this Order.

8. Except as specifically provided in this Order, the Debtors

hall have no further obligations under the ‘Lease.
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9. Nothing in this Order constitutes a waiver of any claims the
Debtors may have against the Landlord, whether or not related to the Lease.

10. The Debtors are authorized to take all actions necessary 0

effectuate the relief granted pursuant to this Order.

li. Asa result of the termination of the Sublease, the Subtenar

and its successors in interest have no right to possession of the Premises.

Dated this “) day of August, 2006, in Jacksonville, Florida.

* “ABS WWUST.4
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 31 of 40

EXHIBIT “J”
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 32 of 40

ALLONGE

TO PROMISSORY NOTE IN THE PRINCIPAL AMOUNT FIVE MILLION
FIVE HUNDRED ONE THOUSAND SEVEN HUNDRED FIFTY FOUR AND NO/100
DOLLARS ($5,501,754.00) DATED SEPTEMBER 16, 1998 FROM WOODLAND
HARTFORD ASSOCIATES LLC, A NEW YORK LIMITED LIABILITY COMPANY TO
FIRST UNION NATIONAL BANK, A NATIONAL BANKING ASSOCIATION.

PAY TO THE ORDER OF * , oA
WITHOUT REPRESENTATION OR RECOURSE.

FIRST UNION ATIONAL, pANY

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i

Name@faig M. Liséerman
Title: Diréctor/Vice President —

By:

CW&TV\Does\Nelib] \Hmarcill\0051992.01
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 33 of 40

EXHIBIT “K”
Casé 3°05-0K-03817-JAF DociI5080-3 Filed 02/09/07 Page SET Ag 4 Treg

¥8.© e Bae .

WHEN RECORDED RETURN TO: . .

RE WILSON & ASSOCIATES aK 3985P68 {bs 043926
23232 PERALTA DR. STE. 218
LAGUNA HILLS, CA 92653

ASSIGNMENT OF DEED OF TRUST AND SECURITY AGREEMENT, AND
ASSIGNMENT OF LEASES

“

THIS ASSIGNMENT OF DEED OF TRUST AND SECURITY AGREEMENT, AND
ASSIGNMENT OF LEASES AND RENTS (this "Assignment”), made and entered into as of

the QU dayof_ = HAa, 1994 , is by FIRST UNION NATIONAL BANK, having
an office at One First Unioh Center DC-6, Charlotte, North Carolina ("Assignor"), in favor of
at , a

having an office a 4931 19 Ave SE, Minneapolis, MN 55414

("Assignee"). INVESTOR NUMBER.
LOAN NUMBER: - O
FILE NUMBER:

WITNESSET &bcuMENT NUMBER: __<

DATE:

WHEREAS, Assignor is the present legal anE@qa@&aBle Bywner_and holder of .a

promissory note, dated as of September 16, 1998, executed by Woodland Hartford Associates

LLC, a New York limited liability company ("Borrower"), and made payable to the order of

First Union National Bank ("First Union") in the stated principal amount of Five Million Five

Hundred One Thousand Seven Hundred Fifty Four and NO/100 Dollars ($5,501,754.00) (the

"Note”) in connection with the refinancing of certain real property situated in the City of

Chesapeake and Commonwealth of Virginia as more particularly described on Exhibit A
annexed hereto and made a part hereof (the "Premises"); and.

WHEREAS, the Note is secured by Deed of Trust and Security Agreement, and
Assignment of Leases and Rents, both as hereinafter defined; and

WHEREAS, the parties hereto desire that Assignor assign to Assignee, its successors
and assigns, all of Assignor’s right, title and interest in and to the Deed of Trust and Security
Agreement and Assignment of Leases and Rents.

NOW, THEREFORE, in consideration of the premises above set forth and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged
and agreed, Assignor and Assignee hereby covenant and agree as follows:

1. Assignment. Assignor does hereby transfer, assign, grant, and convey to
Assignee, its successors and assigns, all of the right, title and interest of Assignor in and to the
following documents and does hereby grant and delegate to Assignee, its successors and
assigns, any and all of the duties and obligations of Assignor under the following documents
from and after the date hereof:

a. That certain Deed of Trust and Security Agreement and Assignment of
Leases and Rents, dated as of September 16, 1998 from Borrower to First Union in the stated
principal amount of Five Million Five Hundred One Thousand Seven Hundred Fifty Four and

0051987.01

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Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 35 of 40
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NO/100 Dollars (the "Deed of Trust"), encumbering the Premises, together with the notes and
bonds secured thereby and recorded in the City of Chesapeake’s Clerk’s office; and
on aA vi | 44 Docth aaoSyY Ble ard! PQ p02, .
b. That certain Assignment of Leases and Rents dated as of September 16,
1998 from Borrower to First Union (the "Assignment of Leases”), assigning to First Union all
existing and future leases and rents relating to the Premises and recorded in the City of
Chesapeake’s Clerk's office. on @ [17144 Doc + SDdoss We aod! Ps. OF

2. Representations and Warranties of Assignor. This Assignment is an absolute
assignment. This Assignment is made without recourse, representation or warranty, express or
implied.

3. Governing Law. This Assignment shall be governed by and construed in
accordance with the laws of the State of Virginia.

4. Successors and Assigns. This Assignment shall be binding upon and inure to the
benefit of the parties hereto and their respective successors and assigns.

5. Headings. The headings of the paragraphs of this Assignment have been included
only for convenience, and shall not be deemed in any manner to modify or limit any of the
provisions of this Assignment or used in any manner in the interpretation of this Agreement.

6. Interpretation. Whenever the context so requires in this Assignment, all words
used in the singular shall be construed to have been used in the plural] (and vice versa), each
gender shall be construed to include any other genders, and the word "person" shall be
construed to include a natural person, a corporation, a firm, a partnership, a joint venture, a
trust, an estate or any other entity.

7. Partial Invalidity. Each provision of this Assignment shall be valid and
enforceable to the fullest extent permitted by law. If any provision of this Assignment or the
application of such provision to any person or circumstances shall, to any extent, be invalid or
unenforceable, then the remainder of this Assignment, or the application of such provision to
persons or circumstances other than those as to which it is held invalid or unenforceable, shall
not be affected by such invalidity or unenforceability.

[Signature page immediately follows]
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BKU9BSPEB IG

IN WITNESS WHEREOF, Assignor has executed this Assignment as of the date above
first written.

ASSIGNOR:

FIRST UNION N

By:

Name: Craig M. Litsegma
Title: Director/Vice President
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 - Page 37 of 40

&K3985P6317

STATE OF NORTH CAROLINA )
) ss.

COUNTY OF MECKLENBURG }

, 1994, before me, ABNEY €.DANELS , the

On the \y day of Ju
undersigned officer, personally a peared Craig M. Lieberman, as Director/Vice President of
First Union National Bank, a national banking association, who executed the foregoing

instrugeaitasiass ‘845,
NE. D4,

&
SO on -wrriegee WHEREOF, I have hereunto set my hand and official seal.

Perens OS

asia ies: 2 \IBlO

Notary Public
ade.

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398568 | §

EXHIBIT

—S

ALL THAT certain Jot, piece or parcel of land, situate in the Pleasant Grove Borough of the Ciry of
Chesapeake, Virginia, and designated as "PARCEL 18", consisting of 8.426 acres, as shown on that certain
plat entited, “Subdivision Plar of Las Gaviotas Commerce Center", dated October 27, 1987, and prepared
by Centerline Associates, Lid., which plat is recorded in the Clerk's Office of the Circuit Court of the City
of Chesapeake, Virginia, on December 2, 1987 in Map Book 89, at page 69, being more particulasly
described as follaws:

BEGINNING 2t a pin (S) on the eastern right-of-way of Las Gaviotas Boulevard and at the common
property line of this Parcel, and the northwest corner of Parce! C, as shown on the aforementioned plat of
subdivision, said point of being distant 202.43 feet fram the aorthern right-of-way of Cedar Road; thence
proceeding in a northerly direction along said Las Gavioras Boulevard right-of-way along a bearing of N
49° $5° 25" EB 328.23 fect to a pin (S); a point of curvature, thence along a curve to the left, having a radius
of 636.64 feet and an are length of 174.03 feet to a pin (F); thence tuming and leaving said Las Gaviotas
Boulevard right-of-way, $ 40° 04’ 35” E 674.63 feet wo a pin (F) on the western right-of-way of Rountree
Drive right-of-way; thence mming and proceeding in a southerly direction along said Rountree Drive right-
of-way, S 44° 47° 23” W 253.19 feet to a pin (S); a point of curvature, thence along a curve to the left,
having a radius of 150.00 feet and an arc length of 126.35 feet to a pin (S); a point of angency, thence S
03° 28° 22” E 101.55 feet to a pin (S); a point of curvature, thence along a curve to the nght, having a
radius of 100.00 feet and an arc length of 93.19 feet to a pin (F); a point of tangency, thence naming and
leaving said Rountree Drive right-of-way, N 40° 04" 35' W 400.50 feet to a pin (F), thence S$ 49° $8’ 25”
W 160.00 feer to a pin (S); a point of curvature, thence along a curve to the left, having a radius of 30.00
feer and an arc length of 47.12 feet to a pin (S); a point of tangency in the northern right-of-way line of
Cedar Road, (Var. R/W), thence proceeding in a northerly direction along Cedar Road, N 40° 04° 35" W
110.00 feet to a pin (S); theace tuming leaving said Cedar Road right-of-way along a curve to the left,
having a cadius of 30.00 feet and an arc length of 47.12 feet to a pin (S); a point of tangency, thence N 49°

. 55’ 25" E 160.00 feet to a pin (S); thence N 40° 84’ 35” W, 405.00 feet to the point of beginning. Said

Parcel contains 8.426 acres.

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GLERK, StRRLIT COURT
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 39 of 40

EXHIBIT “L”
Case 3:05-bk-03817-JAF Doc 15080-3 Filed 02/09/07 Page 40 of 40
LIS > Code of Virginia > 55-220.1 Page 1 of 1

§ 55-220.1. Perfection of lien or interest in leases, rents and profits.

The recordation pursuant to § 55-106, in the county or city in which the real property is located, of any
deed, deed of trust or other instrument granting, transferring or assigning the interest of the grantor,
transferor, assignor, pledgor or lessor in leases, rents or profits arising from the real property described
in such deed, deed of trust or other instrument, shall fully perfect the interest of the grantee, transferee,
pledgee or assignee as to the assignor and all third parties without the necessity of () furnishing notice
to the assignor or lessee, (ii) obtaining possession of the real property, (iii) impounding the rents, (iv)
securing the appointment of a receiver, or (v) taking any other affirmative action. The lessee is
authorized to pay the assignor until the lessee receives written notification that rents due or to become
due have been assigned and that payment is to be made to the assignee. This section shall apply to all
instruments of record before, on or after July 1, 1992.

(1992, c. 67; 1993, c. 427.)

previous | next | new search | table of contents | home

http://leg1 state.va.us/cgi-bin/legp504.exe?000+cod+55-220.1 2/8/2007
